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                          IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA

   MICHAEL GRANT,                                                 CIVIL ACTION
   Plaintiff,
                                                                  NO. 20-735
   v.

   CITY OF PHILADELPHIA, et al.
   Defendants.

                                                        ORDER

         AND NOW, this 20th day of October 2022, upon consideration of Defendants’ Motion for

Summary Judgment (ECF 101), and Plaintiff’s Response (ECF 108), as well as all submissions

and oral argument related thereto, and for the reasons stated in the accompanying memorandum,

it is hereby ORDERED that:

              1. Defendants’ Motion for Summary Judgment as to Counts I, II, and III against Emile

Sauris and Steven Moffit is GRANTED.

              2. Defendants’ Motion for Summary Judgment as to Counts IV and V against the City

of Philadelphia is GRANTED.

              3. The Second Amended Complaint (ECF 55) is therefore DISMISSED with

prejudice, and the Clerk shall close this case.



                                                         BY THIS COURT:

                                                          /s/ MICHAEL M. BAYLSON
                                                         ______________________________
                                                         MICHAEL M. BAYLSON
                                                         United States District Court Judge


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